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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS

JOHN HANCOCK LIFE INSURANCE                        )
COMPANY (U.S.A.) f/k/a John Hancock                )
Life Insurance Company                             )
                                                   )
                             Plaintiff,            )
                                                   )
       v.                                          )       Case No. 4:18-CV-02869
                                                   )
THE ESTATE OF JENNIFER LAUREN                      )
WHEATLEY, et al.                                   )
                                                   )
                             Defendants.           )

PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S BRIEF IN SUPPORT
                 OF ITS CLAIM FOR ATTORNEYS’ FEES

       Plaintiff John Hancock Life Insurance Company (U.S.A.) f/k/a John Hancock Life

Insurance Company (“John Hancock”) responds in opposition to defendant The Estate of

Jennifer Lauren Wheatley’s (the “Wheatley Estate”) Brief in Support of its Claim for Attorney’s

Fees Against John Hancock (“Brief”). John Hancock offers the following Opposition to the

Wheatley Estate’s Brief:

                                      INTRODUCTION

       This is an interpleader action filed by John Hancock related to an annuity issued as a

result of the structured settlement of a tort action filed on behalf of Jennifer Lauren Wheatley

(“Wheatley”) after John Hancock received multiple, inconsistent claims to the proceeds of the

annuity by the Wheatley Estate and Jeremy Ward (“Ward”). In response to John Hancock’s

Complaint for Interpleader, Defendants the Wheatley Estate and Ward filed counterclaims

against John Hancock for breach of contract, negligence, and promissory estoppel. See ECF

Nos. 13, 17. The Wheatley Estate subsequently filed a Motion for Leave to Amend its Answer,

Crossclaim and Counterclaims (“Motion for Leave to Amend”), seeking the Court’s permission

to add a fourth counterclaim against John Hancock, and later sought to add a fifth counterclaim.
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See ECF No. 46, 106.

       John Hancock promptly filed motions to dismiss the counterclaims of Ward and the

Wheatley Estate (ECF Nos. 19-20) and the Court ordered dismissal, following a hearing, on

March 14, 2019. See Minute Entry, March 20, 2019. In ruling to dismiss the counterclaims

asserted against John Hancock, the Court expressly recognized there remained the issue of the

annuity payments that had been disbursed to Ward in the amount of $16,096.04 (the “Disbursed

Payments”), which would be decided with the interpleader action.   Also pending before the

Court was the Wheatley Estate’s Motion for Leave to Amend to add a fifth counterclaim. The

Court addressed the first Motion for Leave to Amend on July 3, 2019, when the Court denied it

as moot, based off the Court’s previous March 14 Order and March 20 Minute Entry dismissing

the Wheatley Estate’s counterclaims against John Hancock. ECF No. 63.

       The Wheatley Estate subsequently filed a Motion for Summary Judgment, seeking

judgment in favor of the Wheatley Estate in regards to the proceeds of the annuity policy (ECF

No. 74), and motions for reconsideration in regards to the dismissal of its remaining

counterclaims against John Hancock (ECF Nos. 76, 78, 98). On November 13, 2019, the Court

entered an order granting the Wheatley Estate’s motion for summary judgment as to the proceeds

of the annuity and reviving the Wheatley Estate’s counterclaims as to recovery of the Disbursed

Payments. See ECF No. 102.

       The Wheatley Estate filed a Motion for Partial Summary Judgment on March 16, 2020 as

to the revived counterclaims. ECF No. 125. On May 28, 2020, after a hearing on the Wheatley

Estate’s Motion for Partial Summary Judgment, the Court granted summary judgment in favor of

the Wheatley Estate only as to the Wheatley Estate’s breach of contract claim for the Disbursed

Payments. See June 2, 2020 Minute Entry. Additionally, the Court dismissed the Wheatley

Estate’s remaining counterclaims and denied its motions to add counterclaims, including its

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claim under the Texas Insurance Code. See id. The Court asked the parties to submit briefs on

their request for attorneys’ fees.   Id.   John Hancock previously submitted its Motion for

Attorneys’ Fees and directs the Court to the arguments set forth in its motion. ECF No. 77.

       The Wheatley Estate’s request for attorneys’ fees should be denied entirely.           The

Wheatley Estate is not entitled to attorneys’ fees, an award that is generally reserved for the

interpleader (here, John Hancock), nor is it entitled to attorneys’ fees under a counterclaim that

was never properly asserted in the lawsuit. Further, the Wheatley Estate’s attorneys’ fees request

should be rejected as unreasonable. To the extent the Court determines the Wheatley Estate is

entitled to an award of attorneys’ fees, the Wheatley Estate should be allowed to recover only

reasonable fees in connection with its breach of contract counterclaim and only for the period of

time that the breach of contract counterclaim was not abated by the Court.

                                           ARGUMENT

        I.     The Wheatley Estate is Not Entitled to Attorneys’ Fees.

        The Wheatley Estate argues that it is entitled to attorneys’ fees on three bases: (1) the

Court’s equitable power to award attorneys’ fees in an interpleader action; (2) under Tex. Ins.

Code § 542.060; and (3) under Tex. Civ. Prac. & Remedial Code, § 38.001 in regards to its

breach of contact claim.

        A.     The Wheatley Estate’s Reliance on State Farm Life Insurance Company v.
               Bryant is Misguided; an Award of Attorneys’ Fees in an Interpleader Case is
               Generally Reserved for the Interpleader Plaintiff, here, John Hancock.

        The Wheatley Estate bases its argument for attorneys’ fees associated with the

interpleader action on one case, arguing that in State Farm Life Insurance Company v. Bryant,

(No. 3:18-CV-1628-L, 2019 WL 7938266 (N.D. Tex. May 16, 2019)) (filed herewith as

Appendix A-1) the court stated that attorneys’ fees awards are proper in interpleader cases where

“fair and equitable.” ECF No. 146, p. 6. The Wheatley Estate has improperly applied the court’s

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holding in State Farm to its own request for attorneys’ fees. In State Farm, the court examined

an award to State Farm as the disinterested stakeholder. “When interpleader is proper, attorneys’

fees and costs are generally awarded to the disinterested stakeholder from the interpleader fund.”

Id. at *10.   Further, the court explained that the decision whether to award attorneys’ fees is

based on a determination of the following factors: (1) the complexity of the case; (2) the

uniqueness of the services performed by the interpleader plaintiff; (3) whether the interpleader

plaintiff acted with diligence and in good faith; (4) whether the interpleader plaintiff benefited

from the services it provided; and (5) “whether the claimants improperly protected the

proceedings.” State Farm Life Ins. Co., 2019 WL 7938266, at * 10 (emphasis added).

        State Farm does not, as the Wheatley Estate leads to the Court to believe, provide for

attorneys’ fees to an interpleader defendant.       Attorneys’ fees in an interpleader action is

generally awarded to the disinterested stakeholder, here, John Hancock. No award of attorneys’

fees is proper for the fees incurred by the Wheatley Estate that were associated with the

underlying interpleader action.

       B.      The Wheatley Estate Did Not Succeed on Its Counterclaims Under the Texas
               Insurance Code; No Attorneys’ Fees are Proper.

       On June 2, 2020 the Court dismissed the Wheatley Estate’s counterclaims against John

Hancock, including its asserted claim under the Texas Insurance Code, with the exception of its

claim for breach of contract. Further, pursuant to the Court’s order of dismissal, the Court held

that the Wheatley Estate’s motion for leave to amend to add an additional counterclaim under the

Texas Insurance Code against John Hancock was moot. ECF Nos. 63, 137. Accordingly, the

Wheatley Estate did not succeed on a counterclaim under the Texas Insurance Code and, thus, an

award of attorneys’ fees under the Texas Insurance Code is wholly improper. The Wheatley




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Estate cannot recover attorneys’ fees allowed under a statute that the Court rejected.1

       C.      Should the Court Determine the Wheatley Estate is Entitled to an Attorneys’
               Fee Award, the Award Should Be Limited to Reasonable Fees Associated
               with Its Breach of Contract Claim.

       John Hancock disputes that the Wheatley Estate is entitled to any award of attorneys’

fees. A prevailing party “may recover reasonable attorneys’ fees.” Tex. Civ. Prac. & Rem.

Code Ann. § 38.001(8).      The amount of fees recovered is at the discretion of the trial court.

Coffel v. Stryker Corp., 284 F.3d 625, 640-41 (5th Cir. 2002).

       The Wheatley Estate’s claim for attorneys’ fees in the amount of $122,477.50 is certainly

unreasonable and thus unrecoverable. The only claim for which the Wheatley Estate could

possibly recover attorneys’ fees from John Hancock is its counterclaim for breach of contract

against John Hancock, that is, only fees incurred in dealing with the Disbursed Payments in the

amount of $16,069.04, and only those fees that deemed to be reasonable. For several reasons,

the request for fees in the amount of $122,477.50 is entirely unreasonable and should be denied.

       First, the Wheatley Estate’s breach of contract claim was abated by the Court on March

14, 2019, and was not revived until November 13, 2019. Accordingly, the Wheatley Estate

should not have incurred any attorneys’ fees in regards to its breach of contract claim during that

time. In support of its Brief, the Wheatley Estate has included as exhibits to its Brief an affidavit

and billing statements identifying the fees it believes it is entitled to. Many of the entries should

not be considered by the Court, including:

       •       Work associated with the counterclaims during the time the counterclaims were
               abated by the Court (from March 14, 2019 to November 13, 2019);

       •       Work associated with the underlying interpleader claims;

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  While the Wheatley Estate’s Motion to Revise Order Entered on 5/28/2020 Pursuant to Minute
Entry Dismissing the Defendant’s Fourth Counterclaim (“Motion to Revise”) (ECF No. 147) is
currently pending before the Court, the Court has not ruled on the motion and an award of
attorneys’ fees at this time would be improper.
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       •        Work associated with cross-claims filed by Ward;

       •        Work associated with the Wheatley Estate’s third discovery requests, which the
                Court struck by the Court after the filing of a Motion for Protective Order by John
                Hancock (See ECF No. 137);

       •        Work associated with seeking leave to amend to add a fifth counterclaim against
                John Hancock, denied by Court (See ECF No. 137);

       •        Work associated with choice of law issues the Court denied as moot (See ECF
                No. 137);

       •        Work associated with the appeal that was filed by Ward, which could have only
                related to the interpleader claim and the Wheatley Estate’s counterclaims against
                John Hancock;

       •        Ministerial tasks; and

       •        Work associated with settlement discussions because an Offer of Judgment was
                made on the full $16,069.04 awarded for the breach of contract counterclaim plus
                interest and was not accepted by the Wheatley Estate (See ECF No. 113).

       Further, on multiple occasions John Hancock has attempted to curtail the attorneys’ fees

incurred by all of the parties by urging the Wheatley Estate to engage in mediation.

Additionally,   John    Hancock     served   an       Offer   of   Judgment   in   the   amount   of

$25,000‒‒representing the $16,069.94 in proceeds paid to Ward, interest, and a reasonable

amount of attorneys’ fees incurred by the Wheatley Estate. ECF No. 113. The Wheatley Estate

rejected each and every attempt John Hancock made to settle, presumably all in an effort to keep

counsel’s clock running and increase its attorneys’ fee award.           Instead of accepting John

Hancock’s multiples offers to mediate the remaining claims in this case, the Wheatley Estate

filed numerous motions to which John Hancock has had to respond, and also served untimely

discovery requests to which John Hancock has had to move for a protective order. The Wheatley

Estate is now asking the Court to award it exactly what John Hancock has been offering for

months (an amount equal to the payments made to Ward and interest), plus an award of its

attorneys’ fees. It should not be allowed to recover for its attorneys’ fees for time unnecessarily
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spent when this matter could have, and indeed should have been resolved months ago.

        Accordingly, the Wheatley Estate is not entitled to an attorneys’ fee award in any

amount. However, if the Court determines an award is appropriate, it should be limited to

attorneys’ fees associated with the following:

       •       Preparation of answer and counterclaims to the interpleader petition;

       •       Preparation of an opposition to John Hancock’s motion to dismiss the
               counterclaims;

       •       Preparation for a hearing on John Hancock’s motion to dismiss;

       •       Preparation of motions to reconsider and reinstate counterclaims;

       •       Preparation of motion for summary judgment on breach of contact claim;

       •       Preparation for hearing on motion for summary judgment on breach of contract
               claim.

       Even so, the Wheatley Estate’s documentation in support of its attorneys’ fees is

insufficient to establish the proper amount of attorneys’ fees that were incurred for these tasks.

First, the bills of Gabriel Berry & Weston, L.L.P. do not indicate who is doing what task, leaving

the Court to guess who did the work and at what rate. Accordingly, the Court cannot evaluate

whether the work was properly divided among the responsible attorneys and paralegals. Further,

there is a discrepancy between the hourly fees as reflected in Mr. Berry’s affidavit and on the

bills that were submitted. Compare ECF No. 145 with ECF No. 145-2. Berry’s affidavit

indicates that the rate for him and his partner, Richard Gabriel, is $350 per hour and the hourly

rate for Herb Janzen, serving as local counsel, is $250. Yet, Mr. Berry’s submitted billing

statement includes entries billed at $375 per hour. In addition, Mr. Berry’s affidavit states that

two paralegals billed at an hourly rate of $175, yet there is also someone who billed at an hourly

rate of $125. Finally, the billing statement includes multiple entries with an indicator of “no

charge” or “(Total hrs []; billable [])”, which seems to indicate the client was not charged for the
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time incurred on these tasks. However, these amounts appear to be included in the total recovery

that the Wheatley Estate requests from the Court. See ECF No. 145-2, entries from January 7,

2019 through January 18, 2019 and February 4, 2019 through February 6, 2019.           The Wheatley

Estate is not entitled to an award of attorneys’ fees. However, if the Court deems an award is

appropriate, additional support should be required from the Wheatley Estate to resolve these

conflicts.

         II.   John Hancock’s Is Entitled to an Award of Attorneys’ Fees.

         The Wheatley Estate spends the majority of its Brief re-arguing its position in opposition

to John Hancock’s Motion for Attorneys’ Fees (ECF No. 77), which was already opposed by the

Wheatley Estate. ECF No. 88. However, in its present Brief, the Wheatley Estate points out an

important case that indeed supports John Hancock’s request for attorneys’ fees: State Farm Life

Insurance Company v. Bryant, (No. 3:18-CV-1628-L, 2019 WL 7938266 (N.D. Tex. May 16,

2019)) (filed herewith at Appendix A-1). In explaining that interpleader plaintiffs could receive

an award of attorneys’ fees where appropriate, including the fees and costs incurred in filing and

handling the interpleader action, interpleader plaintiffs typically cannot recover fees incurred in

defending counterclaims asserted against it.      Id. at * 13.   However, the court warned the

defendant from pursing counterclaims against State Farm that the court already determined were

prohibited, such as the defendant’s claim against State Farm for wrongful denial of defendant’s

claim. Id. The court cautioned that if the defendant did not heed the court’s warning, State Farm

would be allowed to pursue attorneys’ fees incurred in defending those counterclaims. Id. The

Northern District of Texas clearly stated that a disinterested stakeholder (here, John Hancock)

can recover fees associated with defending against counterclaims on which the court has

previously ruled. In addition to the support found in State Farm, John Hancock stands behind,

and directs the Court to, the arguments set forth in its Motion for Attorneys’ Fees.

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                                       CONCLUSION

       For all of the aforementioned reasons, John Hancock respectfully requests that the Court

deny the Wheatley Estate’s request for attorneys’ fees. If the Court determines an award of

attorneys’ fees is warranted, John Hancock asks that the Court make a ruling stating what fees

can and cannot be recovered by the Wheatley Estate and, further, directing the Wheatley Estate

to supplement its Brief with a more accurate accounting of the time spent. In any event, John

Hancock requests that an attorneys’ fee award should not be awarded in an amount in excess of

$25,000, as any amount in excess of $25,000, for the limited amount of work done on the

successful counterclaim at issue, is unreasonable and unwarranted.

Dated: July 6, 2020                         Respectfully submitted,

                                            BRYAN CAVE LEIGHTON PAISNER LLP


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 6, 2020, the foregoing was served upon all
counsel of record through CM/ECF filing system.

                                                    /s/ Gregory J. Sachnik
                                                    Attorney for Plaintiff




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